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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                            CASE NUMBER:
                                                                           CV 20-08607-ODW(JCx)

 American Society of Cinematographers,

                                                Plaintiff
                           v.


 Howard Schatz et al.,

                                           Defendant(s).
                                                                     ORDER/REFERRAL TO ADR




  The Court, having considered the parties’ Request: ADR Procedure Selection, the Notice to Parties of
Court-Directed ADR Program, or the report submitted by the parties pursuant to Fed. R. Civ. P. 26(f)
and Civil L.R. 26-1, hereby:

    ORDERS this case referred to:

    X ADR PROCEDURE NO. 1: (G district judge or X magistrate judge assigned to the case
         for such settlement proceedings as the judge may conduct or direct).



   For ADR Procedure Nos. 1 and 3, counsel are responsible for contacting the judge or private
mediator at the appropriate time to arrange for further proceedings.




Dated: March 9, 2021
                                                              United States District Judge




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